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UNITED STATES OF AMERICA l'll"'} C`E-` 151 145:1?:1113
-vs- Case No. 2:05cr20226-M1
ARGUESS BAKER

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
THURSDAY, JULY 21, 2005 at 2:30 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Ninth Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

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Date lels 05 p<@/{ /( %WW/

DlANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

 

llf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(0 are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85) Order of Ternporary Detention

Thls document entered on the docket she/et |n compliance
with Rule 55 and!or 32{b) FRCrP on

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 8 in
case 2:05-CR-20226 Was distributed by faX, rnail, or direct printing on
July 19, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

